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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

 FAIR FIGHT ACTION, et al.,                 )
                                            )
        Plaintiffs                          )
                                            )
 v.                                         )    Civil Action File
                                            )
 BRAD RAFFENSPERGER, in his                      No. 1:18-cv-05391-SCJ
                                            )
 official Capacity as Secretary of State of )
 Georgia; et al.,                           )
                                            )
        Defendants.
                                            )

     DEFENDANTS’ STATUS REPORT REGARDING DISCOVERY

      Defendants Secretary Raffensperger, the State Election Board, and

State Election Board Members Seth Harp, Rebecca Sullivan, and David

Worley submit this report to the Court, in accordance with the Court’s

January 30, 2020, Order requiring weekly status reports.

I.    Defendants’ Ongoing Document Review and Production.

      Since Defendants’ February 7, 2020, Status Report, [Doc. 221],

Defendants have continued to review and produce responsive documents to

Plaintiffs. Defendants believe we are still on track to complete productions,

on a rolling basis, by February 28, 2020.




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      A.    Defendants’ Recent and Forthcoming Productions.

      Defendants provided Production 29 to Plaintiffs on February 7, 2020.

This production contains incoming complaint emails, identified after

resolving the indexing issue, and documents responsive to Plaintiffs’ search

terms. The documents are Bates Numbered STATE-DEFENDANTS-

00234925–STATE-DEFENDANTS-00335175. Defendants anticipate

providing another production of documents responsive to Plaintiffs’ search

terms as soon as this afternoon. Defendants will continue making rolling

productions until all documents captured by Plaintiffs’ search terms have

been reviewed.

      B.    Status of Declarant Depositions

      Defendants scheduled two declarant depositions. The first, of Ms.

Deidra Reed, and the second, of Dr. Carlos Del Rio. Only the deposition of

Ms. Reed, not on Defendants’ “priority list,” was conducted this week (on

February 12, 2020). Defendants received Ms. Reed’s Declaration, signed

October 28, 2019, on November 7, 2019 (Bates Number PLTFS001004–

PLTFS001008). Unfortunately, as has been common with many declarants,

Defendants received notice that Ms. Reed would not be attending the

deposition about an hour beforehand but proceeded to depose her by

telephone. Dr. Del Rio on the other hand is specifically named in Plaintiffs’


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Amended Complaint, [Doc. 41 ¶¶ 87–88]; he is on Defendants’ priority list

and is scheduled for a deposition next week.

      Once Defendants receive the Court-ordered final list of declarants,

[Doc. 225], Defendants will re-assess the most efficient way to depose

Plaintiffs’ declarants and confer with opposing counsel.

II.   Status of Expert Discovery

      Defendants are not aware of any additional Expert Reports filed by

Plaintiffs since February 7, 2020.

      A.      Defendants’ Experts

      There are currently no pending reports from Defendants. After

Plaintiffs file additional expert reports as required by the Second Amended

Scheduling Order, [Doc. 228], Defendants will notify the Court and Plaintiffs

about any additional responsive reports.

      B.      Plaintiffs’ Experts

      As was the case on February 7, 2020, Defendants have not yet received

reports from the following experts identified by Plaintiffs:

             Dr. Alex Halderman;

             Dr. Michael Herron;

             Mr. John Lesner;

             Dr. Kenneth Mayer;


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              Dr. Peyton McCrary; and

              Dr. Michael McDonald.

      With the understanding that relevant expert reports will be filed by

February 17, 2020, the parties have scheduled the following expert

depositions:

              Dr. Halderman in Detroit, Michigan on February 25, 2020;

              Dr. Graves in Boston, Massachusetts on February 25, 2020;

              Dr. Mayer in Wisconsin on February 26, 2020;

              Dr. McDonald in Atlanta on February 28, 2020; and

              Dr. Herron in New York on February 26, 2020.

      Respectfully submitted this 14th day of February 2020.

                           /s/Josh Belinfante
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                    CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing

DEFENDANTS’ STATUS REPORT REGARDING DISCOVERY was

prepared double-spaced in 13-point Century Schoolbook font, approved by the

Court in Local Rule 5.1(C).



                              /s/Josh Belinfante
                              Josh Belinfante




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